         Case 1:21-cr-00117-RCL Document 234 Filed 04/06/23 Page 1 of 2




                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA

UNITED STATES                                  )
                                               )
       v.                                      )      Case No. 1:21-cr-117-1 (RCL)
                                               )
RYAN NICHOLS                                   )
                                               )
                                               )

                        DECLARATION OF BONNIE RAE NICHOLS

Pursuant to 28 U.S.C. § 1746, I, Bonnie Rae Nichols, hereby state the following:

   1. I am the court-appointed third-party custodian of Mr. Ryan Nichols. By order of the

       Court, Mr. Nichols is confined to our home in Texas.

   2. From March 22, 2023, to April 6, 2023, I attest that Ryan Nichols has fully complied

       with every condition of his release.

   3. I attest that if I become aware or have reason to believe that Ryan Nichols has violated or

       will violate any condition of his release, I will immediately report this information to the

       Pretrial Services Agency at (202) 442-1000.


I declare under penalty of perjury that the foregoing is true and correct.

Executed on April 6, 2023.

                                                              /s/ Bonnie Rae Nichols
                                                              Bonnie Rae Nichols
          Case 1:21-cr-00117-RCL Document 234 Filed 04/06/23 Page 2 of 2



                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

 UNITED STATES                                )
                                              )
        v.                                    )      Case No. 1:21-cr-117-1 (RCL)
                                              )
 RYAN NICHOLS                                 )
                                              )
                                              )

                                      NOTICE OF FILING

        Undersigned counsel hereby provides this notice of filing of the declaration of third-party

 custodian Bonnie Rae Nichols, pursuant to the Court’s order.


Dated: New York, NY
       April 6, 2023

                                                    Respectfully submitted,

                                                    /s/ Joseph D. McBride, Esq.
                                                    Bar ID: NY0403
                                                    THE MCBRIDE LAW FIRM, PLLC
                                                    99 Park Avenue, 6th Floor
                                                    New York, NY 10016
                                                    p: (917) 757-9537
                                                    e: jmcbride@mcbridelawnyc.com
                                                    Counsel for the Defendant




                                 CERTIFICATE OF SERVICE

 I hereby certify that a copy of the foregoing was electronically served on opposing counsel on

                                          April 6, 2023.

                             /s/ Joseph D. McBride, Esq.
